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   9
  10                                UNITED STATES DISTRICT COURT
  11                              CENTRAL DISTRICT OF CALIFORNIA
  12
  13 STM ATLANTIC N.V., a Dutch                   Case No. 2:18-cv-01269-JLS-JCG
     company; STM GROUP, INC., a
  14 Delaware corporation; EMIL                   GLOBAL-IP CAYMAN AND
     YOUSSEFZADEH, an individual; and             GLOBAL IP USA, INC.’S
  15 UMAR JAVED, an individual,                   EVIDENTIARY OBJECTIONS TO
                                                  THE SUPPLEMENTAL
  16                      Plaintiffs,             DECLARATION OF EMIL
                                                  YOUSSEFZADEH SUBMITTED IN
  17           v.                                 SUPPORT OF PLAINTIFF’S
                                                  REPLY BRIEF FOR ITS MOTION
  18 DONG YIN DEVELOPMENT                         FOR JUDICIAL DETERMINATION
     (HOLDINGS) LIMITED, a Hong Kong
  19 unlimited company; CHINA ORIENT              [FILED UNDER SEAL PER COURT
     ASSET MANAGEMENT                             ORDER OF APRIL 2, 2018]
  20 (INTERNATIONAL) HOLDING
     LIMITED, a Hong Kong limited                 HEARING
  21 company; and LUDWIG CHANG, an                Judge: Hon. Josephine L. Staton
     individual,,                                 Date: May 11, 2018
  22                                              Time: 2:30 p.m.
                  Defendants.                     Place: Courtroom 10A
  23
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                                                 -1                          Case No. 2:18-cv-01269-JLS-JCG
       SMRH:486217341.1                                               GIP’S EVIDENTIARY OBJECTIONS TO
                                                      SUPPLEMENTAL DECLARATION OF EMIL YOUSSEFZADEH
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   1                      Global-IP Cayman and Global IP USA, Inc. (“GIP”) hereby object to
   2 the Supplemental Declaration of Emil Youssefzadeh (“Emil Decl.”) because it
   3 improperly seeks to introduce new evidence in support of Plaintiffs’ Reply brief.
   4 “To the extent that [a reply] presents new information, it is improper.” Tovar v. U.S.
   5 Postal Serv., 3 F.3d 1271, 1273 n.3 (9th Cir.1993); see also Litton Indus., Inc. v.
   6 Lehman Bros. Kuhn Loeb Inc., 767 F. Supp. 1220, 1235 (S.D.N.Y. 1991) (a reply
   7 brief may introduce new evidence only if the opposition brief raised new issues and,
   8 even then, the new evidence must address only those issues that were reasonably
   9 unforeseen at the time the moving party filed the opening brief). The Supplemental
  10 Declaration of Emil Youssefzadeh presents new information regarding issues that
  11 reasonably could have been foreseen when the moving papers were filed. For
  12 example, Plaintiffs argued in their Motion for Judicial Determination that any
  13 communications between GIP and Bronzelink waived the privilege without
  14 providing any factual support. Plaintiffs now seek to improperly backfill the
  15 evidence on this point through Section A of the Declaration of Emil Youssefzadeh.
  16 This evidence should be disregarded. This objection is referenced below as
  17 “Improper New Evidence.”
  18                      GIP further make the following evidentiary objections to the
  19 Declaration of Emil Youssefzadeh offered in support of Plaintiffs’ Reply brief for its
  20 Motion for Judicial Determination:
  21                      MATERIAL OBJECTED TO:                   GROUNDS FOR OBJECTION:
  22    1.       Emil Decl. ¶ 2, in its entirety           Improper New Evidence; Improper
                                                           Legal Conclusion; More Prejudicial
  23                                                       Than Probative (Fed. R. Evid. 403)
  24
        2.       Emil Decl. ¶ 3, in its entirety           Improper New Evidence; Improper
  25                                                       Legal Conclusion; More Prejudicial
                                                           Than Probative (Fed. R. Evid. 403)
  26
        3.       Emil Decl. ¶ 4, in its entirety           Improper New Evidence; Improper
  27                                                       Legal Conclusion; More Prejudicial
                                                           Than Probative (Fed. R. Evid. 403)
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   1    5.       Emil Decl. ¶ 5, in its entirety            Improper New Evidence; Improper
                                                            Legal Conclusion; More Prejudicial
   2                                                        Than Probative (Fed. R. Evid. 403)
   3    6.       Emil Decl. ¶ 6, in its entirety and        Improper New Evidence; Improper
                 Exhibit 92                                 Legal Conclusion; More Prejudicial
   4                                                        Than Probative (Fed. R. Evid. 403)
   5    7.       Emil Decl. ¶ 7, in its entirety and        Improper New Evidence; Improper
                 Exhibit 93                                 Legal Conclusion; More Prejudicial
   6                                                        Than Probative (Fed. R. Evid. 403)
   7    8.       Emil Decl. ¶ 8, in its entirety and        Improper New Evidence; Improper
                 Exhibit 94                                 Legal Conclusion; More Prejudicial
   8                                                        Than Probative (Fed. R. Evid. 403)
   9    9.       Emil Decl. ¶ 9, in its entirety            Improper New Evidence; Improper
                                                            Legal Conclusion; More Prejudicial
  10                                                        Than Probative (Fed. R. Evid. 403)
  11    10.      Emil Decl. ¶ 10, in its entirety and       Improper New Evidence; Improper
                 Exhibit 96                                 Legal Conclusion; More Prejudicial
  12                                                        Than Probative (Fed. R. Evid. 403)
  13    11.      Emil Decl. ¶ 11, in its entirety           Improper New Evidence; Improper
                                                            Legal Conclusion; More Prejudicial
  14                                                        Than Probative (Fed. R. Evid. 403)
  15    12.      Emil Decl. ¶ 12:                           Improper Legal Conclusion, Lacks
                                                            Foundation (Fed. R. Evid. 602)
  16             “As stated in my prior declaration,
                 Umar Javed and I submitted our
  17             resignations on June 26, 2017, but
                 remained executives with GIP-
  18             Cayman and GIP-USA until mid-
                 August 2017. Our resignations did
  19             not become effective immediately
                 because our employment
  20             agreements had 60-day notice
                 provisions and the GIP-Cayman and
  21             GIP-USA Boards of Directors did
                 not formally relieve us of our duties
  22             and authority at that time.”
  23    13.      Emil Decl. ¶ 13:                           Improper New Evidence; Lacks
                                                            Foundation (Fed. R. Evid. 602)
  24             “. . . Bahram Pourmand was
                 stripped of his authority to act as the
  25             CEO.”
  26    14.      Emil Decl. ¶ 15, in its entirety and       Improper New Evidence
                 Exhibit 82
  27
        15.      Emil Decl. ¶ 16, in its entirety           Improper Legal Conclusion
  28
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   1    16.      Emil Decl. ¶ 19, in its entirety and      Improper New Evidence
                 Exhibit 98
   2
        17.      Emil Decl. ¶ 20, in its entirety          Improper Legal Conclusion
   3
        18.      Emil Decl. ¶ 22, in its entirety          Improper New Evidence; Lacks
   4                                                       Foundation (Fed. R. Evid. 602);
                                                           Improper Opinion of a Lay Witness
   5
        19.      Emil Decl. ¶ 23, in its entirety          Improper New Evidence; Lacks
   6                                                       Foundation (Fed. R. Evid. 602);
                                                           Improper Opinion of a Lay Witness
   7
        20.      Emil Decl. ¶ 24:                          Improper New Evidence;
   8                                                       Inadmissible Hearsay (Fed. R. Evid.
                 “. . . [B]oth consultants confirmed       801); Lacks Foundation (Fed. R.
   9             that they had read the Milbank            Evid. 602)
                 Memo and the Chen Memo and told
  10             us that Dong Yin would reward us if
                 we were willing to back down and
  11             drop the compliance issues.”
  12    21.      Emil Decl. ¶ 25:                          Improper New Evidence; Lacks
                                                           Foundation (Fed. R. Evid. 602);
  13             “GIP-Cayman’s export control laws         Improper Opinion of Lay Witness
                 compliance issues persist to this
  14             day.”
  15
  16 Dated: May 8, 2018
  17
                                       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
  18
  19
                                       By                      /s/ Travis J. Anderson
  20
                                                            CHARLES L. KREINDLER
  21                                                         JENNIFER G. REMOND
                                                             TRAVIS J. ANDERSON
  22
  23                                                Attorneys for Non Parties Global-IP Cayman
  24                                                          and Global IP USA, Inc.

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